                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
        v.                                            )      NO. 3:10-00260
                                                      )
                                                      )      JUDGE HAYNES
ABDIFATAH ADAN                                        )


GOVERNMENT’S MOTION IN LIMINE TO EXCLUDE ALLEGATIONS INVOLVING
                  JANE DOE TWO’S RELATIVE


        Comes now, the United States, by and through the undersigned, and respectfully moves

this Honorable Court to issue an order excluding any allegation that any relative of Jane Doe

Two (JD2) is a terrorist. During the hearings on March 2 and 5, 2012, Defendants Idris Ibrahaim

Fahra (9) and Yusuf Yassan (29) alleged that JD2's brother is a terrorist. Any allegation that

JD2's brother is a terrorist lacks any relevance to the instant proceeding. Federal Rule of

Evidence 403 states, “The court may exclude relevant evidence if its probative value is

substantially outweighed by a danger of one or more of the following: unfair prejudice, confusing

the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Defendants’ claim that JD2's brother is a terrorist has no probative value and is

irrelevant. Moreover, the allegation is unfairly prejudicial, confusing, and misleading. For these

reasons, the Government seeks an order from this Honorable Court excluding any allegation

related to JD2's relative being a terrorist.




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                                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I, hereby certify that a true copy of the forgoing was sent via the Court’s electronic filing

system or, if not registered, deposited in the United States mail to the following on this 9th day

of March 2012.

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